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Jon L. Norinsberg, Esq.
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                                                                   December 2, 2024
VIA ECF
Hon. Valerie E. Caproni
United States District Judge
United States Courthouse
40 Foley Square, Room 443
New York, NY 10007
(212) 805-6350

                Re: Igartua v. Polanco Brothers IP LLC
                    Case No. 24-cv- 07088 (VEC)

Dear Judge Caproni:

       Our office represents Plaintiff Juan Igartua (“Plaintiff”) in the above-referenced
Americans with Disabilities Act (“ADA”) matter against Defendant Polanco Brothers IP, LLC
(“Defendant”), which was filed on September 18, 2024, and served upon the Defendant on
October 23, 2024 (Docket No. 6).

        Attorney Michael Cortes, Esq., on behalf of the Defendant, contacted the undersigned via
email last week to inform us that they had recently been assigned as counsel to Polanco Brothers
IP LLC. Attorney Cortes requested a 30-day extension of time to submit their Answer. The
parties also engaged in a comprehensive discussion regarding a potential settlement agreement.
Although the settlement has not yet been finalized, it is anticipated that we will reach a mutual
understanding by January 1, 2025.

       This is the Defendant’s first request for an extension, and we have no objection to such
an extension.
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         We trust that the Court will find this letter sufficient to extend Defendant’s the time to
Answer the Complaint by 30-days, until January 1, 2025. We remain committed to resolving this
case promptly and will notify the Court upon reaching a resolution.

         Thank you for your attention to this matter.

                                                                   Respectfully submitted,

                                                             JOSEPH & NORINSBERG, LLC

                                                                   Sincerely,




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